     Case 4:17-cv-01618 Document 41 Filed in TXSD on 07/13/18 Page 1 of 3



                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION

DISH NETWORK L.L.C.,
                                               §
                                               §
         Plaintiff,                              Civil Action No. 4:17-cv-01618
                                               §
                                               §
    v.
                                               §
                                               §
SHAHJAHAN DURRANI, d/b/a
                                               §
ZemTV, and and ADAM LACKMAN,
                                               §
d/b/a www.tvaddons.ag,
                                               §
www.tvaddons.org,
                                               §
www.streamingboxes.com, and
                                               §
www.offshoregit.com
                                               §
                                               §
         Defendants.

               Order Compelling Production and Entering Sanctions

      Having considered Plaintiff DISH Network L.L.C.’s (“DISH”) letter

regarding discovery dispute (Dkt. 39) and the telephone conference held on July 13,

2018, the Court ORDERS:

      1.       Within five days of this Order, Adam Lackman (“Lackman”) must

produce:

               a.     All documents identifying his revenues, costs, and gross profits

                      relating to Tvaddons.ag or Offshoregit.com from February 17,

                      2015 through June 4, 2017;

               b.     All documents identifying each payment, donation, or other

                      transfer of currency, cryptocurrency or thing of value made to
                                           1
Case 4:17-cv-01618 Document 41 Filed in TXSD on 07/13/18 Page 2 of 3



             him relating to Tvaddons.ag or Offshoregit.com from February

             17, 2015 through June 4, 2017;

       c.    All   documents     identifying   any   marketing   revenue   or

             monetization      received   relating   to    Tvaddons.ag     or

             Offshoregit.com from February 17, 2015 through June 4, 2017;

       d.    The name and address of each of his financial institutions,

             including all banks, payment processors, and cryptocurrency

             exchanges from February 17, 2015 through the date of this

             Order;

       e.    All documents concerning co-defendant and ZemTV addon

             developer, Shahjahan Durrani;

       f.    All documents concerning the ZemTV addon; and

       g.    All documents concerning the television channels identified in

             paragraph 10 of DISH’s amended complaint, specifically Aaj

             Tak, Aastha Bhajan, Aastha TV, ARY Digital, ARY News, B4U

             Movies, B4U Music, Dunya TV, Express Entertainment, Express

             News, Geo News, Geo TV, Hum Masala, Hum Sitaray, Hum TV,

             India Today (Headlines Today), Movies OK, Sahara One, Sahara

             Samay, Times Now, and Zoom.




                                   2
      Case 4:17-cv-01618 Document 41 Filed in TXSD on 07/13/18 Page 3 of 3



       2.     DISH is authorized to take Lackman’s deposition twice in this case,

with each deposition lasting up to 7 hours.

       3.     As appropriate sanctions, Lackman is ordered to pay $2,835.00 to DISH

within five days of this order, consisting of DISH’s reasonable attorney’s fees related

to this discovery dispute.

       4.     Violation of this Order may subject Lackman or his counsel to all

applicable penalties, including further sanctions.

       It is so ordered.

       SIGNED on July ___, 2018.


                                               Vanessa D. Gilmore
                                               United States District Judge




                                           3
